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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION
  600 Pennsylvania Avenue, N.W.
  Washington, D.C. 20580,

                             Petitioner,                Case No. 20-mc-00111-CRC

v.

STEPHEN K. BANNON
  210 A Street, N.E.
  Washington, D.C. 20002,

                             Respondent.


     FEDERAL TRADE COMMISSION’S REPLY MEMORANDUM IN SUPPORT OF
      PETITION FOR AN ORDER ENFORCING CIVIL INVESTIGATIVE DEMAND

       The Opposition filed by Respondent Stephen K. Bannon supplies no reason this Court

should decline to enforce the Commission’s Civil Investigative Demand (“CID”) for an

investigational hearing. Perhaps realizing that he cannot refuse to attend the investigational

hearing simply because he intends to invoke his Fifth Amendment rights, Bannon resorts to

groundless accusations of improper motive. But it’s all just bluster. Contrary to Bannon’s

contention, there is no “abuse of power” or undue burden in demanding his appearance at a

hearing—remotely, if he prefers—to assert the Fifth Amendment privilege on a question-by-

question basis, as well-established law requires. Bannon’s argument that the Commission has

failed to show prejudice is doubly wrong: that is not a condition for enforcement of a lawfully-

issued CID, and, in fact, further delay will impair the Commission’s and the public interest.

Bannon’s further argument that the testimony sought is “unreasonably duplicative” is likewise




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meritless—and waived because he failed to file a petition to quash with the Commission. The

Court should enforce the CID.

                                         ARGUMENT

       A.      Bannon’s Newly-Minted Argument that the CID is “Unreasonably
               Duplicative” is Meritless.

       Although Bannon never made this argument to the Commission in an administrative

petition to quash 1 or in nine months of discussions with Commission staff over a suitable date for

the investigative hearing, Bannon now claims that enforcement of the CID is “improper” because

it seeks “duplicative information that is already in the possession of the Commission.” ECF No.

12 at 5. By failing to raise this objection in a petition to quash before the Commission, Bannon

has waived it. See FTC v. Invention Submission Corp., No. MISC. 89-272 (RCL), 1991 WL

47104, at *2 n.12 (D.D.C. Feb. 14, 1991) (“the court has no authority to rule on . . . arguments”

that respondent did not raise before the Commission); FTC v. Complete Merch. Sols., LLC, No.

2:19-CV-00996 (HCN), 2020 WL 2059847, at *8-*10 (D. Utah Apr. 28, 2020) (ordering

respondent to comply with the CID fully where it failed to exhaust administrative remedies).

       Bannon’s objection is meritless, in any event. As set forth in the Commission’s opening

memorandum, Commission staff properly seeks to explore questions about Bannon’s role and

involvement with Cambridge Analytica at the investigational hearing. ECF No. 1-1 at 10; ECF

No. 1-2 (Kopp Decl.) at ¶¶ 3, 9, 26. Bannon’s self-serving contention that he has no further

information to share does not justify setting aside the CID. As authority cited by the Opposition

recognizes, district courts “must defer to the [Commission’s] judgment as to whether further

testimony from Respondent will aid its investigation.” FTC v. Bisaro, 757 F. Supp. 2d 1, 9


1
 Congress and the Commission have provided recipients with an administrative remedy to quash
or narrow the CID. See 15 U.S.C. § 57b-1(f); 16 C.F.R. § 2.10.



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(D.D.C. 2010) (“Bisaro II”); see also FTC v. Bisaro, No. MISC. 10-289 (CKK), 2010 WL

4910268, at *6 (D.D.C. Aug. 17, 2010) (district court “must accept the Commission’s own

appraisal of relevancy so long as it is not ‘obviously wrong’” (citation omitted)). 2

       Even if Bannon’s prior interrogatory responses and documents overlap with potential

investigational hearing topics, “there is no general prohibition” to seeking oral testimony on

“topics that concern information ‘already received . . . via other discovery devices.’” U.S. ex rel.

Landis v. Tailwind Sports Corp., No. 1:10-CV-00976 (CRC), 2015 WL 13711120, at *2 (D.D.C.

July 2, 2015) (citation omitted). Courts consistently reject the proposition that producing written

responses or documents relieves a party of its obligation to sit for a deposition. See, e.g., Tri-

State Hosp. Supply Corp. v. United States, 226 F.R.D. 118, 126 (D.D.C. 2005) (“There are, of

course, only a finite number of pertinent events in any lawsuit, and how they occurred is a topic

that may be pursued by all forms of discovery, even though the information provided by one

form of discovery repeats and duplicates information yielded by another.”); see also Kress v.

Pricewaterhouse Coopers, LLP, No. 2:08-CV-0965 (LKK), 2013 WL 2421704, at *5 (E.D. Cal.

June 3, 2013) (noting “there are strong reasons why a party strategically selects to proceed by

oral deposition rather than alternate means, including the spontaneity of witness responses”)

(citation omitted); Marker v. Union Fidelity Life Ins. Co., 125 F.R.D. 121, 126 (M.D.N.C. 1989)




2
  Bannon’s reliance on Powell and Boehringer are misplaced. The “possession” requirement
articulated in Powell has limited applicability to enforcement proceedings involving Commission
compulsory process, as Bannon’s own authority recognizes. See Bisaro II, 757 F. Supp. 2d at 7
(finding it “doubtful” that Powell put the “burden of proof on any agency other than the IRS” to
establish that the information sought is not already within its possession due to the explicit
requirements of Section 7605(b) of the Internal Revenue Code). Boehringer stands for the
unremarkable proposition that a party ordered to comply with agency process need not produce
documents it has already produced earlier in an investigation. FTC v. Boehringer Ingelheim
Pharm., Inc., 898 F. Supp. 2d 171, 175 (D.D.C. 2012).



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(“Because of its nature, the deposition process provides a means to obtain more complete

information [than a written response to an interrogatory] and is, therefore, favored.”).

        Moreover, testimony from Bannon is needed to test the foundation, veracity, and

accuracy of his interrogatory responses and to clarify information contained in documents he

produced to the Commission. A party has the “right to verify and explore the information” in

discovery responses and documents through testimony. Campbell v. Facebook Inc., 310 F.R.D.

439, 449 (N.D. Cal. 2015)); see also U.S. ex rel Fago v. M & T Mort. Corp., 235 F.R.D. 11, 24

(D.D.C. 2006) (“the availability of an informative document” is not the equivalent of testimony

on that same subject).

        B.      Enforcement of the CID Would Not Undermine Bannon’s Right to a Fair
                Trial in His Criminal Case.

        There is likewise no merit to Bannon’s argument that it would be “unduly burdensome”

for him to attend an investigational hearing before his criminal trial because his Fifth

Amendment right against self-incrimination may be implicated by questions at the hearing. ECF

No. 12 at 3-4. Even crediting Bannon’s assumption that his Fifth Amendment rights may be

implicated here, Bannon will suffer no undue burden if he has to appear at an investigational

hearing and assert his Fifth Amendment rights. The Commission has not sought to prevent

Bannon from invoking his Fifth Amendment rights at the investigational hearing. Rather, the

Commission insists only that Bannon invoke his Fifth Amendment rights in response to specific

questions; he cannot simply assert the privilege on a blanket basis to avoid sitting for the

investigational hearing in the first instance. ECF No. 1-1 at 12-14. Because Bannon is free to

invoke his Fifth Amendment rights (where appropriate) at the investigational hearing, there is no

risk to his right to a fair trial in the criminal action.




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       C.      Bannon’s Refusal to Provide Testimony Prejudices the Commission’s Efforts
               to Enforce the FTC Act and Protect the Public.

       Nor should the Court credit Bannon’s argument that the Commission would not be

prejudiced by further delaying the investigational hearing until after his criminal trial (a delay of

nearly six additional months).     The Commission need not demonstrate prejudice to obtain

enforcement of a lawfully-issued CID. And this contention is wrong, in any event.

       Here, Bannon’s refusal to appear for the September 2020 investigational hearing has

prejudiced the Commission in two separate ways.            First, Bannon’s refusal to sit for the

investigational hearing has prevented the Commission from completing its investigation. See

ECF No. 1-2 (Kopp Decl.) at ¶¶ 26-28. As set forth in the Commission’s opening memorandum,

courts have routinely denied requests for a stay pending resolution of related criminal actions

given the Commission’s strong interest in timely enforcing its own laws. ECF No. 1-1 at 14-15.

Second, the Commission’s interest in protecting the public has been harmed by non-compliance.

Id. at 15. Bannon attempts to diminish the significance of this harm by claiming that the

Commission “expressed no concern about the supposed prejudice caused by the delay” during

the past twelve months. ECF No. at 3. But this ignores that from January 2020 to September

2020, Bannon had no objection to sitting for an investigational hearing. And it ignores that

Commission staff postponed Bannon’s appearance date due to his counsel’s scheduling issues

and concerns related to the ongoing COVID-19 pandemic. ECF No. 1-2 (Kopp Decl.) at ¶¶ 17-

18. Bannon’s refusal to sit for the investigational hearing in September 2020 and his current

request for another six-month delay merely magnifies, not undermines, the prejudice to the

Commission and consumers.

       Lacking any valid ground for resisting enforcement of the CID, Bannon accuses the

Commission of being improperly motivated by a “fascination” with the 2016 Presidential



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election and Bannon’s supposed “celebrity.” ECF No. 12 at 1-2. 3 This baseless charge supplies

no basis to refuse enforcement of the CID. This Circuit has made clear that “the validity of

Commission subpoenas is to be measured against the purposes stated in the resolution, and not

by reference to extraneous evidence.” FTC v. Invention Submission Corp., 965 F.2d 1086, 1091

(D.C. Cir. 1992) (quoting FTC. v. Carter, 636 F.2d 781, 789 (D.C. Cir. 1980)). 4              The

Commission showed in its opening memorandum the CID was issued pursuant to the

Commission’s lawful authority and seeks information relevant to the investigation. ECF No. 1-1

at 8-11. Nothing in Bannon’s Opposition undermines this showing.




3
  This argument ignores that the heart of the challenged conduct took place two years before the
2016 election and the Commission has held non-“celebrity” individuals responsible for their
involvement in Cambridge Analytica’s misdeeds. See ECF No. 1-2 (Kopp Decl.) at ¶¶ 6-8.
4
 Indeed, “agencies are entitled to a presumption of administrative regularity and good faith, and
[w]ith no indication that the Commission will act cavalierly or in bad faith, [the Commission’s]
assertions with respect to the treatment of subpoenaed material should be accepted at face
value.” Invention Submission, 965 F.2d. at 1091 (quoting FTC v. Owens–Corning Fiberglas
Corp., 626 F.2d 966, 975 (D.C. Cir. 1980) (internal quotation marks omitted)).




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                                       CONCLUSION

       For the foregoing reasons, this Court should direct Bannon to comply in full with the CID

by appearing—either in-person or remotely via videoconference—for an investigational hearing.


Dated: December 18, 2020                           Respectfully submitted,

                                                   ALDEN F. ABBOTT
                                                   General Counsel

                                                   JAMES REILLY DOLAN
                                                   Principal Deputy General Counsel

                                                   MICHELE ARINGTON
                                                   Assistant General Counsel for Trial Court
                                                   Litigation

                                                    /s/ Brian Berggren                   .
                                                   LINDA HOLLERAN KOPP (472355)
                                                   BRIAN BERGGREN (Appearing pursuant to
                                                   LCvR 83.2(e))

                                                   FEDERAL TRADE COMMISSION
                                                   600 Pennsylvania Ave., N.W.,
                                                   Mail Stop CC-8232
                                                   Washington, D.C. 20580
                                                   Tel: 202-326-2267 (Kopp);
                                                   202-326-3232 (Berggren)

                                                   Attorneys for Petitioner




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 18th day of December, 2020, I filed the foregoing with

the Clerk of the Court via the CM/ECF system, which will automatically send an electronic mail

notification of such filing to the CM/ECF registered participants as identified on the Notice of

Electronic Filing.

                                            /s/ Brian Berggren                         .
                                            Attorney for Petitioner Federal Trade Commission




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